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                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                      TEL. 504-310-7700
CLERK                                                           600 S. MAESTRI PLACE,
                                                                        Suite 115
                                                               NEW ORLEANS, LA 70130

                               March 05, 2024


      No. 24-50149       USA v. State of Texas
                         USDC No. 1:24-CV-8
                         USDC No. 1:23-CV-1537


Dear Counsel,
The above referenced case has been scheduled for oral argument
on 04/03/2024. It will be held in New Orleans - West Courtroom
at 9:00 a.m. The Oral Argument session number is 37.
Arguing counsel is responsible for electronically filing the
Oral Argument Acknowledgment Form by no later than March 19,
2024. To submit your form, log in to CM/ECF and select the event
‘Oral Argument Acknowledgment Form Filed.’ Please include your
session number when completing the Oral Argument Acknowledgment
Form.
IMPORTANT: Please confer with all counsel on your side regarding
the order and division of time before submitting the form. This
step is critical to ensure you are providing the court with
accurate information. The court will not allow any changes
except in emergency situations.
The Oral Argument Acknowledgment Form is available on our
website at https://www.ca5.uscourts.gov/oral-argument-
information/attending-oral-arguments. Also available on this
page are links to the ‘Court and Special Hearings Calendar’ and
‘Court Policy on Electronic Devices’.
If you have not electronically filed a "Form for Appearance of
Counsel," you must do so before filing the Oral Argument
Acknowledgment Form. You must name each party you represent,
See Fed. R. App. P. and 5th Cir. R. 12. The form is available
at https://www.ca5.uscourts.gov/appearanceform. Attorneys
appointed under the Criminal Justice Act are exempt from the
requirement to file a Form for Appearance of Counsel.
To ensure that we can provide all pertinent materials to the
court before argument, we must receive any additional filings in
this office by noon on the workday immediately preceding the day
your case is scheduled for argument. Exceptions will be made for
emergencies only.
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Notice to Court Appointed Counsel: Please review for information
on CJA travel at https://www.ca5.uscourts.gov/oral-argument-
information/attorney-information/cja-travel-information.
All questions regarding the scheduling and argument of this case
should be directed to the assigned courtroom deputy, Kim Pollard
at 504-310-7635.

                                Sincerely,
                                LYLE W. CAYCE, Clerk


                                By: ________________
                                Charles B. Whitney, Calendar Clerk
                                504-310-7679
cc:
      Ms. Munera Al-Fuhaid
      Mr. Spencer Amdur
      Mr. Anand Balakrishnan
      Mr. Maxwell A. Baldi
      Ms. Jo Anne Bernal
      Mr. Brian Boynton
      Ms. Heather Lee Dyer
      Mr. Lee P. Gelernt
      Ms. Tamara Goodlette
      Mr. Daniel Hatoum
      Ms. Amy Snow Hilton
      Ms. Kateland R. Jackson
      Mr. Omar C. Jadwat
      Ms. Jean Lin
      Mr. Joseph N. Mazzara
      Mr. Aaron Lloyd Nielson
      Mr. Leif Eric Overvold
      Ms. Adriana Cecilia Pinon
      Mr. Jacob Przada
      Mr. Samuel M. Shapiro
      Mr. Kyle Tebo
      Mr. Daniel Bentele Hahs Tenny
      Mr. Erin D. Thorn
      Mr. Ryan Daniel Walters
      Mr. Coy Allen Westbrook
      Mr. Cody Wofsy
